






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00076-CV






Appellant, Texas Association of Appraisal Districts, Inc., // Cross-Appellant,

Coach Dan Hart


v.


Appellee, Coach Dan Hart // Cross-Appellees, Texas Association of Appraisal

Districts, Inc., and Property Tax Education Coalition






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-10-000781, HONORABLE JOSEPH H. HART, JUDGE PRESIDING





O P I N I O N



		In this case, we decide whether appellant/cross-appellee Texas Association of
Appraisal Districts, Inc. (TAAD) and cross-appellee the Property Tax Education Coalition (PTEC)
are "governmental bodies" subject to disclosure of public information under the Texas Public
Information Act (PIA).  See Tex. Gov't Code Ann. §&nbsp;552.003(1) (West 2012); see generally id.
§§&nbsp;552.001-.353 (West 2012).  Appellee/cross-appellant Hart brought suit against TAAD and PTEC
seeking disclosure under the PIA of those entities' financial records for the years 2007 through 2010.
The district court's final judgment denied Hart's requested relief as to PTEC, but granted relief as
to TAAD and ordered TAAD to disclose the requested information.  Both TAAD and Hart appeal
from the district court's final order.  We will affirm the district court's judgment in part and reverse
and remand in part.


FACTUAL AND PROCEDURAL BACKGROUND

		TAAD is a nonprofit corporation whose mission is to "promote the effective and
efficient functioning of appraisal districts and aid in the improvement of the administration thereof
in the State of Texas."  The following persons and entities are eligible for voluntary membership in
TAAD:  Texas appraisal districts; current and retired employees of appraisal districts and taxing
entities, members of Appraisal Review Boards, and state agencies; and persons actively engaged in
the property tax profession, subject to TAAD approval.  Approximately 90% of Texas's appraisal
districts are members of TAAD.  TAAD members are required to pay annual membership dues, in
return for which they receive a subscription to a bi-monthly newsletter, updates on legislative issues
of interest to TAAD members, and discounts on an annual conference and on TAAD education
courses.  TAAD also receives revenue from conference and course registrations, advertising in its
newsletter, and book sales.  Some of TAAD's revenue comes from public entities that use public
fees to pay for membership dues or TAAD's other products.

		PTEC is also a non-profit corporation.  It was initially formed by seven trade
associations as a voluntary unincorporated association to develop curricula and educational materials
related to licensing requirements for property-tax professionals. (1)  PTEC produces course materials
on property-tax issues, but rather than conduct the courses itself, PTEC licenses its materials to
various organizations that sponsor or conduct educational and training courses.  PTEC's sole source
of revenue is the licensing fees it receives from the sponsoring organizations, which are based on&nbsp;the
number of students attending the course.  Some of those licensing fees are paid by public&nbsp;entities
using public funds.  PTEC has no employees; instead, TAAD employees provide administrative
services to operate PTEC.  PTEC entered into a memorandum of understanding with the Office of
Comptroller of Public Accounts that, generally stated, requires PTEC to develop curricula and
educational courses and that allows PTEC to charge a reasonable fee for the courses, materials, and
examinations it prepares.

		In February 2010, Hart submitted a public-information request to TAAD and PTEC
seeking those entities' financial records for the years 2007 through 2010.  Both TAAD and PTEC
refused to produce these records, asserting that they were not governmental bodies subject to the
PIA.  Neither TAAD nor PTEC requested a PIA ruling from the Attorney General regarding Hart's
request.  See Tex. Gov't Code Ann. §&nbsp;552.306(a) (requiring Attorney General to render opinion
regarding whether requested information is subject to PIA).  Hart then filed this suit in Travis County
district court seeking a writ of mandamus to compel production of the requested information
under&nbsp;the PIA.  After a bench trial, the district court issued a final judgment ordering TAAD to
produce the requested documents, but ordering that Hart take nothing on its claim against PTEC. 
The district&nbsp;court declined to award Hart attorney's fees.  It is from this judgment that TAAD and
Hart now appeal.


ANALYSIS

		The parties' issues on appeal can be summarized as asking this Court to
determine&nbsp;whether (1) TAAD and PTEC, respectively, are "governmental bodies" under the PIA,
and (2)&nbsp;whether Hart is entitled to attorney's fees under the PIA.


Standard of review

		Whether an entity is a "governmental body" under section 552.003 of the PIA is
a&nbsp;matter of statutory construction that we review de novo.  See City of Garland v. Dallas Morning
News, 22 S.W.3d 351, 357 (Tex. 2000) (noting that matters of statutory construction are legal
questions, and specifically that whether information is subject to PIA is a question of law); see also
State v. Shumake, 199 S.W.3d 279, 284 (Tex. 2006) (holding that statutory construction is a matter
of law, which is reviewed de novo).  Our primary objective in statutory construction is to give
effect&nbsp;to the Legislature's intent.  See Shumake, 199 S.W.3d at 284.  We seek that intent "first and
foremost" in the statutory text.  Lexington Ins. Co. v. Strayhorn, 209 S.W.3d 83, 85 (Tex. 2006). 
We use statutory definitions provided.  See Tex. Gov't Code Ann. §&nbsp;311.011(b) (West 2005).  Where
statutory text is clear, it is determinative of legislative intent unless the plain meaning of the statute's
words would produce an absurd result.  See Entergy Gulf States, Inc. v. Summers, 282 S.W.3d 433,
437 (Tex. 2009).  Only when statutory text is susceptible to more than one reasonable interpretation
is it appropriate to look beyond its language for assistance in determining legislative intent.  See
In&nbsp;re&nbsp;Smith, 333 S.W.3d 582, 586 (Tex. 2011).  Further, in construing the PIA, we give due
consideration to the Attorney General's PIA decisions, even though they are not binding, because
the Legislature has directed the Attorney General to determine whether records must be disclosed
pursuant to PIA.  See Tex. Gov't Code Ann. §§&nbsp;552.008(b-2), .306 (requiring Attorney General
to&nbsp;render decisions regarding PIA); Abbott v. City of Corpus Christi, 109 S.W.3d 113, 121
(Tex.&nbsp;App.--Austin 2003, no pet.); Rainbow Grp. Ltd. v. Texas Emp't Comm'n, 897 S.W.2d 946,
949 (Tex. App.--Austin 1995, writ denied); see also Railroad Comm'n v. Texas Citizens for a Safe
Future &amp; Clean Water, 336 S.W.3d 619, 624-25 (Tex. 2011) (giving "serious consideration" and
"some deference" to agency's "interpretation of a statute it is charged with enforcing" "so long as
the construction is reasonable and does not conflict with the statute's language").

		The Texas Legislature promulgated the PIA with the express purpose of providing
the public "complete information about the affairs of government and the official acts of public
officials and employees."  Tex. Gov't Code Ann. § 552.001(a); Jackson v. State Office of Admin.
Hearings, 351 S.W.3d 290, 293 (Tex. 2011) (citing City of Garland, 22 S.W.3d at 355-56).  The Act
is aimed at preserving a fundamental tenet of representative democracy:  "that the government is the
servant and not the master of the people."  Tex. Gov't Code Ann. § 552.001(a); Jackson, 351 S.W.3d
at 293.  At its core, the PIA reflects the public policy that the people of Texas "insist on remaining
informed so that they may retain control over the instruments they have created."  Tex. Gov't Code
Ann. §&nbsp;552.001(a); see Jackson, 351 S.W.3d at 293 (citing Texas Comptroller of Pub. Accounts
v.&nbsp;Attorney Gen. of Tex., 354 S.W.3d 336, 343 (Tex. 2010)).  To that end, the PIA directs that it
be&nbsp;liberally construed in favor of disclosure of requested information.  Tex. Gov't Code Ann.
§&nbsp;552.001; Jackson, 352 S.W.3d at 293 (citing City of Garland, 22 S.W.3d at 356).


"Governmental body"

		Under the PIA, public information is available to all members of the public.  See
Tex.&nbsp;Gov't Code Ann. §§&nbsp;552.001, .021, .221(a).  The PIA defines "public information" as
"information that is collected, assembled, or maintained under a law or ordinance or in connection
with the transaction of official business . . . by a governmental body."  Id. §&nbsp;552.002(a)(1).
"Governmental body" in turn is defined to include, among other entities not relevant here, "the part,
section, or portion of an organization, corporation, commission, committee, institution, or agency
that spends or that is supported in whole or in part by public funds."  See id. §&nbsp;552.003(1)(A)(xii).
The parties here join issue on whether TAAD and PTEC are entities that are "supported in whole
or in part by public funds."

		Hart emphasizes that the word "supported" should be construed according to its
"common" meaning, which he contends includes "to promote the interests or cause of," to "assist,
help," "to hold up," "to pay the costs of:  maintain," or "to keep something going."  But the problem
with Hart's argument here, illustrated in part by the numerous definitions he himself offers, is that
"support" does not have a precise or limited meaning such that it can be said to have a "common"
meaning.  See Webster's Third New Int'l Dictionary 2297 (2002). (2)  Further, its meanings are so
broad and varied that any private entity that receives any public funds can be said to be, at least
in&nbsp;part, "supported" by those public funds.  See id.  But we agree, as does the Attorney General,
that&nbsp;simply receiving public funds does not make a private entity a "governmental body" under
the&nbsp;PIA.  See Kneeland v. National Collegiate Athletic Ass'n, 850 F.2d 224, 228 (5th Cir. 1988)
("The Texas Attorney General has concluded that the Act does not apply to 'private persons
or&nbsp;businesses&nbsp;simply because they provide specific goods or services under a contract with a
government body.'") (quoting Tex. Att'y Gen. No. ORD-1 (1973)).  Ultimately, however, this
discussion merely demonstrates that the PIA's definition of "governmental body" is susceptible to
more than one meaning.

		When statutory text is ambiguous, we may resort to rules of construction or statutory
aids, including deference to an administrative agency's construction of the statute if that construction
is reasonable.  See Texas Citizens, 336 S.W.3d at 624-25 (agency deference); Entergy, 282 S.W.3d
at 437 (rules of construction and statutory aids).  This deference is especially applicable here because
the Legislature requires the Attorney General to determine whether records must be disclosed
pursuant to the PIA.  See Tex. Gov't Code Ann. §&nbsp;552.306; Abbott, 109 S.W.3d at 121; Rainbow,
897 S.W.2d at 949; see also Texas Citizens, 336 S.W.3d at 624 (noting that we give "serious
consideration" and "some deference" to agency's interpretation of a statute it is charged with
enforcing" so long as that construction "is reasonable and does not conflict with the statute's
language").

		Since 1988, Texas Attorney General opinions and open-records letter rulings
addressing the scope of "governmental body" under section 552.003(1)(A)(xii) have relied heavily
on the analysis used by the federal Fifth Circuit Court of Appeals in Kneeland.  See, e.g., Tex. Att'y
Gen. Op. No. GA-0666 (2008); Tex.&nbsp;Att'y Gen. Op. No. GA-0603 (2008); Tex. Att'y Gen. OR2012-11220; Tex. Att'y Gen. OR2001-4849; Tex. Att'y Gen. LO-97-017 (1997).  In Kneeland, the
Fifth&nbsp;Circuit created a framework, by reviewing the Attorney General's pre-1988 opinions on this
issue, for analyzing whether a private entity receiving public funds is a "governmental body" for
PIA&nbsp;purposes.  See Kneeland, 850 F.2d at 228 (reviewing Tex. Att'y Gen. No. ORD 1, Tex. Att'y
Gen.&nbsp;No. JM-821 (1987), Tex. Att'y Gen. No. ORD-228 (1979)).  Kneeland's reliance on and
adherence to Attorney General opinions makes it a useful framework for our analysis here.  See
Abbott, 109&nbsp;S.W.3d at 121 (noting that deference to Attorney General is especially appropriate in
PIA cases).

		In Kneeland, the Fifth Circuit first noted that a private entity is not a "governmental
body" under the PIA "'simply because [it] provides specific goods or services under a contract with
a government body.'"  See Kneeland, 850 F.2d at 228 (quoting Tex. Att'y Gen. No. ORD-1).  It then
described what it determined were the three fact situations in which the Attorney General had
previously determined that a private entity receiving public funds was a "governmental body" under
the PIA.  From those three fact situations, it formulated what is now referred to as the Kneeland test:


	An entity receiving public funds is treated as a governmental body under the PIA--


	1.	unless the private entity's relationship with the government "imposes a
specific and definite obligation to provide a measurable amount of service in
exchange for a certain amount of money as would be expected in a typical
arms-length contract for services between a vendor and purchaser";


	2.	if the private entity's relationship with the government "indicates a common
purpose or objective or creates an agency-type relationship between the two";
or 


	3.	if the private entity's relationship with the government "requires the private
entity to provide services traditionally provided by governmental bodies."



See id.  We agree with the Fifth Circuit's analysis of pre-1998 Attorney General opinions on this
issue, but more importantly, the Attorney General agrees and has adopted the Kneeland analysis
and&nbsp;framework as its own, with the proviso that the first of these tests is the primary test for
determining whether a private entity is a governmental body.  See Tex. Att'y Gen. No. GA-0666
("The primary test, however, is whether the entity receives public funds for the general support of
its&nbsp;activities, rather than using those funds to perform a specific and definite obligation .&nbsp;.&nbsp;.  If the
public&nbsp;funds are used for general support, the entity falls within the definition of "governmental
body" under section 552.003(a)(A)(xii) of the Government Code.").  Further, in the two decades
since the Attorney General first applied Kneeland, the Legislature has amended or modified
section&nbsp;552.003(1)'s definition of "governmental body" several times without altering the language
at issue here. (3)  Thus, we must presume that the Legislature was aware of the Attorney General's
interpretation of section 552.003(1)(A)(xii) and adopted it as its own.  See Texas Dep't of Protective
&amp; Regulatory Servs. v. Mega Child Care, Inc., 145 S.W.3d 170, 176 (Tex. 2004) ("If an ambiguous
statute that has been . . . given a longstanding construction by a proper administrative officer is re-enacted without substantial change, the Legislature is presumed to have been familiar with
that&nbsp;interpretation and to have adopted it.").  For these reasons and because the analysis is not
an&nbsp;unreasonable interpretation of section 552.003(1)(A)(xii) in light of PIA's language and
intent--favoring transparency through disclosure--we will defer to the Attorney General and analyze
TAAD's and PTEC's relationships with their public entity members according to the Kneeland
framework as adopted by the Attorney General.  This also seems to be the approach best suited to
effectuate the transparency goals of the PIA while not over-burdening private entities that happen
to provide goods and services to the government.  We will evaluate TAAD and PTEC separately
using this framework.


	TAAD

		In its sole issue on appeal, TAAD challenges the district court's conclusion
that&nbsp;TAAD is a governmental body under the PIA.  Specifically, TAAD argues that it is not a
governmental entity when analyzed under the Kneeland test.  We agree.

		The first element of the Kneeland test is critical to our analysis.  See Tex. Att'y
Gen.&nbsp;No. GA-0666.  TAAD's relationship with all its members, including its public-entity members,
imposes a specific and definite obligation to provide a measurable amount of service in exchange
for a certain amount of money as would be expected in a typical arms-length contract for
services&nbsp;between a vendor and purchaser.  See Kneeland, 850 F.2d at 228.  In return for an annual
membership fee, TAAD provides each of its members with a subscription to a bi-monthly
newsletter,&nbsp;regular updates on relevant legislative issues, and discounts on an annual conference
and&nbsp;education&nbsp;courses that TAAD sponsors.  TAAD also provides, to those who purchase them,
conference and course registrations, advertising in its newsletter, and books.  These services are
specific, measurable, and done in exchange for a certain amount of money--i.e., dues or product
fees.  Hart argues that because TAAD does not have a contract with its members, it does not have
a specific obligation to provide these services.  We disagree that there is no contract.  TAAD's
members submit a membership application in which they agree to pay TAAD in return for
membership in TAAD and its benefits.  By accepting the fees, TAAD becomes obligated to provide
the services it offered.  In sum, TAAD's relationship with its members, which include public entities,
imposes specific and definite obligations on TAAD to provide a measurable amount of service to&nbsp;its
members in exchange for a certain amount of money as would be expected in a typical arms-length
contract for services between a vendor and purchaser.  That aspect of TAAD's structure weighs
against it being considered a "governmental body" under the PIA.

		Regarding the second part of the test--i.e., does the private entity's relationship with
the government indicate a common purpose or objective or create an agency-type relationship
between the two--the record shows that TAAD does not share a common purpose or objective
with&nbsp;its members, and that it is not an agent for its members.  TAAD's purpose is to "promote the
effective and efficient functioning of appraisal districts and aid in the improvement of the
administration thereof in the State of Texas."  While some of its members, specifically its member
appraisal districts, may want to achieve or benefit from TAAD's purposes, their own purpose
or&nbsp;objective is to perform appraisals effectively and efficiently rather than promote the same.  Also
important is the fact that TAAD is a trade organization designed to provide a means for its individual
members to share industry-relevant information.  Its members, in contrast, are not.  Thus, while
TAAD and its members share some objectives, they do not have the identity of interest necessary
to meet the common-purpose or objective prong of the Kneeland test.  Likewise, there is nothing in
the record to suggest that TAAD is in an agency-type relationship with its appraisal-district
members.  The only contract that TAAD has with its members is the membership agreement, and
that agreement does not suggest that TAAD acts as agent for its members.

		Finally, TAAD's relationship with its appraisal-district members does not require
TAAD to perform services traditionally performed by governmental bodies.  It creates newsletters,
prepares legislative updates, trains appraisers, puts on conferences, and sells books.  Although
some&nbsp;governmental bodies may do some or all of these things, none of these are the types of
services&nbsp;that one would expect governmental bodies to perform exclusively.  Hart suggests that
TAAD performs traditional governmental services because if it did not provide training and
communication services, the appraisal districts would have to do so.  Accepting that argument would
render this rule meaningless--e.g., if the State did not purchase its supplies from an outside vendor,
it would have to provide them itself.

		Based on this analysis, we hold that TAAD is not a governmental body under the PIA.
Accordingly, we sustain TAAD's issue on appeal.


	PTEC

		In his first cross-issue on appeal, Hart challenges the district court's conclusion that
PTEC is not a governmental body under the PIA.  Specifically, he contends that under the common
meaning of "support" and under the Kneeland test, PTEC is supported by public funds.  We disagree.
		We note first that we addressed and rejected earlier in this opinion Hart's argument
regarding the common meaning of "support."  And regarding the Kneeland test, as discussed above,
PTEC's only purpose is to produce educational materials for the property-tax profession.  It does not
run the seminars or courses, select teachers, or select students.  Its sole source of revenue is the
licensing fees it receives from those entities that wish to use PTEC's materials.  Thus, any public
funds PTEC receives are payments made by public entities for licenses to use PTEC's educational
materials for those entities' own purposes.  In other words, in exchange for a certain amount of
money, PTEC provides the purchaser with the materials PTEC creates.  Thus, PTEC's financial
relationship with its public-entity members imposes a specific and definite obligation on PTEC to
provide a measurable amount of service--a license to use its materials--in exchange for a payment
that would be expected in a typical arms-length contract for services between a vendor and
purchaser.  As such, application of the first prong of the Kneeland test weighs against PTEC being
considered a "governmental body" under the PIA.

		Under the second prong of the Kneeland test, we consider whether PTEC's
relationship with governmental entities indicates a common purpose or objective or creates an
agency-type relationship.  We conclude that it does not.  PTEC's purpose is to create educational
materials and license those materials.  The governmental entities that purchase PTEC's materials
do&nbsp;so to train their personnel.  Those are distinct and separate purposes.  Its relationship with the
governmental bodies who pay for its materials is in the nature of a vendor to a purchaser.  Likewise,
there is nothing about these relationships that suggest PTEC is acting as the purchaser's agent.

		In the third prong of the Kneeland test, we consider whether PTEC's relationship
requires it to provide services traditionally provided by governmental bodies.  Again, our answer is
that it does not.  While governmental bodies may create educational materials, that is not a service
that would be traditionally provided only by a governmental body.

		Hart argues that PTEC's memorandum of understanding with the Comptroller
creates&nbsp;both a common purpose and an agency relationship.  We disagree.  While the memorandum
of understanding may state that PTEC agrees to create materials on behalf of and under the direction
of the Comptroller, the fact is that it has no obligation to do so; rather, it does these things on behalf
of its customers.  Further, there is nothing in the record to suggest that PTEC actually acts on the
Comptroller's behalf.  But even if we were to accept that it did and that PTEC and the Comptroller
share a common purpose, the Attorney General has consistently concluded that a private entity is not
a "governmental body" if it provides a measurable amount of services in return for public funds
from&nbsp;a public entity.  See Tex. Att'y Gen. No. GA-0666 (holding that first prong of Kneeland is
primary test); Tex. Att'y Gen. OR2002-4853 (determining that non-profit animal shelter is not
governmental body because it provides services in exchange for public funds).  To that extent, it is
not appropriate to consider PTEC a "governmental body" when it provides a measurable amount of
service (educational materials) in exchange for a certain amount of money.

		Based on this analysis, we hold that PTEC is not a governmental body under the PIA.
Accordingly, we overrule Hart's first issue on appeal.


Attorney's fees

		Having determined that neither TAAD or PTEC are governmental bodies under
the&nbsp;PIA, Hart cannot be considered to have substantially prevailed on the merits of this case.  See
Tex. Gov't Code Ann. §&nbsp;552.323(a) (allowing district court to assess attorney's fees for a plaintiff
who substantially prevails in action to enforce PIA).  As such, he is not entitled to attorney's fees
under the PIA.  See id.  Accordingly, we overrule Hart's second issue on appeal challenging the
district court's refusal to award him attorney's fees.


CONCLUSION

		Having sustained TAAD's sole issue on appeal, we reverse the district court's
judgment regarding TAAD and render judgment that TAAD is not a "governmental body" under
the&nbsp;PIA.  Having overruled Hart's two cross-issues, we affirm the remainder of the district court's
judgment as modified.



						__________________________________________

						Jeff Rose, Justice

Before Justices Puryear, Rose and Goodwin

Affirmed in part; Reversed and Rendered in part

Filed:   August 31, 2012
1.   PTEC's member trade associations, some of which are public entities, are TAAD, the Tax
Assessor Collectors Association, the Texas Association of Assessing Officers, the Texas Association
of Municipal Tax Administrators, the Texas School Assessors Association, the Texas Council
of&nbsp;Metropolitan Appraisal Districts, and the Texas Rural Chief Appraisers.  PTEC incorporated
in&nbsp;2009.
2.   Webster's entire definition for the verb "support" is as follows:


	"to bear, endure, . . . to carry, convey, . . . to endure . . . to uphold by aid,
countenance, or adherence:  actively promote the interests or cause of . . . to uphold
or defend as valid, right, just, or authoritative . . . to argue in favor of:  vote for . . .
to advocate; endorse, vote for, or implement the policies, principles, or candidacy of
. . . to provide means, force, or strength that is secondary to:  back up .&nbsp;.&nbsp;. to give
assistance to (a primary battle force) by providing supplies, serving as a reserve, or
furnishing additional or covering combat-strength . . . to attend upon (a person) esp.:
as an assistant on a ceremomious occasion . . . to act with (a star actor) . . . to provide
a musical background for . . . to bid in bridge so as to show support for . . . to serve
as verification, corroboration, or substantiation of . . . to provide amplification or
clarification of . . . to pay, the costs of:  maintain . . . to supply with the means of
maintenance (as lodging, food or clothing) or to earn or furnish funds for maintaining
. . . to provide a basis for·the existence or subsistence of:  serve as the source of
material or immaterial supply, nourishment, provender, fuel, raw material, or
sustenance of . . . to have or put into circulation enough money (as from trade, wages,
manufacture, or taxes) to maintain . . . to hold up or in position:  serve as
a&nbsp;foundation or prop for:  bear the weight or stress of:  keep from sinking or falling
.&nbsp;. . to serve as&nbsp;a heraldic supporter of . . . to give one's arm to . . . to be the subject
or ground of . . . to assume and give the appearance of having . . . to maintain (a
price) at a high level by purchases or loans . . . to maintain the price of (as an
agricultural commodity) by&nbsp;purchases or loans . . . to keep from fainting, sinking,
yielding, or losing courage . . . to maintain in condition, action, or existence."  See
Webster's Third New Int'l Dictionary 2297 (2002).
3.   See Act of May 20, 2003, 78th Leg., R.S., ch. 1276, §&nbsp;9.014, 2003 Tex. Gen. Laws 4158,
4218; Act of May 24, 2001, 77th Leg., R.S., ch. 1005, §&nbsp;2, 2001 Tex. Gen. Laws 2186, 2187; Act&nbsp;of
May 17, 2001, 77th Leg., R.S., ch. 632, §&nbsp;2, 2001 Tex. Gen. Laws 1194, 1194-95; Act of Apr. 23,
1999, 76th Leg., R.S., ch. 62, §&nbsp;18.24, 1999 Tex. Gen. Laws 127, 403; Act of May 29, 1995,
74th&nbsp;Leg., R.S., ch. 1035, §&nbsp;2, 1995 Tex. Gen. Laws 5127, 5128; Act of May 20, 1991, 72d Leg.,
R.S., ch. 306, §&nbsp;5, 1991 Tex. Gen. Laws 1340, 1341-42. 


